                           IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
              Plaintiff,                       )
                                               )   Criminal Action No.
       v.                                      )   07-00301-01-CR-W-NKL
                                               )
BRYAN WALKER,                                  )
                                               )
              Defendant.                       )
                                               )

                                           ORDER

       On December 12, 2008, United States Magistrate Judge John T. Maughmer issued a

Report and Recommendation recommending that this Court enter an order finding the

Defendant competent to stand trial [Doc. # 71].

       Defendant Bryan Walker was examined at the United States Medical Center for

Federal Prisoners from August 20 to October 14, 2008. According to a Competency Report

prepared by Dr. Christina A. Pietz, Ph.D., ABPP, Walker did not have a mental illness that

would prevent him from either understanding the nature or potential consequences of the

proceedings against him or from assisting his attorney. Dr. Pietz opined that while Walker

demonstrates “a maladaptive personality style that will likely interfere with his interactions

with his attorney . . . he is capable of understanding the proceedings against him and assisting

his attorney, if he chooses to do so.”

       While Dr. Pietz did not appear at the hearing held before Magistrate Judge Maughmer

on December 9, 2008, regarding Walker’s competence to stand trial, both the United States

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and Walker stipulated that if Dr. Pietz had testified, she would have testified consistent with

the findings in her report – that Walker is able to understand the proceedings against him and

is able to assist his counsel. Neither the United States nor Walker presented any other

evidence.

       Pursuant to the Report and Recommendation of United States Magistrate Judge

Maughmer, to which there has been no timely objection, and after a de novo review of the

record, the Court finds that Defendant Bryan Walker is competent to understand the nature

and consequence of the proceedings against him and to properly assist in his defense.

       IT IS SO ORDERED.



                                                          s/ Nanette K. Laughrey
                                                          NANETTE K. LAUGHREY
                                                          United States District Judge

Dated: December 30, 2008
Jefferson City, Missouri




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